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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 HIV AND HEPATITIS POLICY
 INSTITUTE et al.,                                     Civil Action No. 1:22-cv-02604-JDB

        Plaintiffs,

 v.

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES et al.,

        Defendants.


CONSENT MOTION FOR EXTENSION OF TIME FOR DEFENDANTS TO RESPOND
    TO FIRST AMENDED COMPLAINT AND FOR ENTRY OF A SUMMARY
                 JUDGMENT BRIEFING SCHEDULE

       Defendants respectfully move for entry of a summary judgment briefing schedule in this

case, and for their deadline for responding to Plaintiff’s First Amended Complaint to be extended

until further order of the Court following resolution of the parties’ cross-motions for summary

judgment. The reasons for this motion are set forth further below:

       1.       On September 23, 2020, Plaintiffs filed a First Amended Complaint (ECF No.

10), rendering Defendants’ Motion to Dismiss (ECF No. 8) moot. Pursuant to Federal Rule of

Civil Procedure 15(a)(3), Defendants’ response to the First Amended Complaint is due on or

before December 2, 2022.

       2.       The parties have met and conferred regarding the most expeditious way to

proceed and believe that this case can now be resolved on cross-motions for summary judgment.

       3.       Accordingly, the parties have agreed to the following schedule:

            January 5, 2023 – Defendants will serve the Administrative Record and file the
             certified list of its contents with the Court;

            February 2, 2023 – Plaintiffs will file their motion for summary judgment;
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              March 2, 2023 – Defendants will file their opposition to Plaintiffs’ motion for
               summary judgment and their cross-motion for summary judgment;

              March 30, 2023 – Plaintiffs will file their combined reply and opposition to
               Defendants’ cross-motion for summary judgment;

              April 20, 2023 – Defendants will file their reply brief.

         4.       The parties have further agreed that Defendants’ filing of an answer or other

response to the First Amended Complaint will not, in their views, further the issues in the case at

the present time. Accordingly, Defendants request that their due date for responding to the First

Amended Complaint be extended until further order of the Court following resolution of the

parties’ cross-motions for summary judgment.

         5.       Defendants therefore request that the attached proposed Order be entered by the

Court.

         6.       Plaintiffs have consented to this motion and to entry of the attached Order.

         WHEREFORE, for the foregoing reasons, Defendants respectfully move for entry of a

summary judgment briefing schedule in this case, and for their deadline for responding to

Plaintiff’s First Amended Complaint to be extended until further order of the Court following

resolution of the parties’ cross-motions for summary judgment.




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Dated: December 1, 2022                Respectfully submitted,
                                       BRIAN M. BOYNTON
                                       Principal Deputy Assistant Attorney General
                                       Civil Division

                                       MICHELLE BENNETT
                                       Assistant Director, Federal Programs Branch

                                       /s/ Carol Federighi
                                       CAROL FEDERIGHI
                                       Senior Trial Counsel
                                       United States Department of Justice
                                       Civil Division, Federal Programs Branch
                                       P.O. Box 883
                                       Washington, DC 20044
                                       Phone: (202) 514-1903
                                       Email: carol.federighi@usdoj.gov

                                       Counsel for Defendant
